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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

FAIZAH P. SIDDIQUE,                  )
                                     )
             Plaintiff,              )                Case No. 1:22-cv-07198
                                     )
       v.                            )                Honorable Edmond E. Chang
                                     )
2740 HIGHLAND LLC d/b/a APEX 41 LLC )
and I.Q. DATA INTERNATIONAL, INC., )
                                     )
             Defendants.             )
____________________________________ )

                                JOINT INITIAL STATUS REPORT

       Plaintiff, Faizah P. Siddique (“Plaintiff”) by and through her attorney, Nathan C. Volheim of

Sulaiman Law Group, Ltd., and Defendant, 2740 HIGHLAND LLC d/b/a APEX 41 LLC and I.Q

DATA INTERNATIONAL, INC., (“IQ”) by and through its attorney, Paul Gamboa of Gordon Rees

Scully Mansukhani. LLP submit their Joint Initial Status Report.


       1.     The Nature of the Case

              a.        Identify the attorneys of record for each party, including the lead trial
                        attorney.

              For Plaintiff:           Nathan C. Volheim (Lead trail attorney)
                                       Sulaiman Law Group, Ltd.

              For IQ:                  Paul Gamboa (Lead trail attorney)
                                       Gordon Rees Scully Mansukhani. LLP

              For 2740 Highland        This Defendant has not appeared in this case. 2740 Highland,
                                       LLC ‘s Answer was due on January 13, 2023. Since they have
                                       failed to file their Answer, Plaintiff will be filing a Motion for
                                       Entry of Default against this Defendant.


              b.        State the basis for federal jurisdiction.

              Federal jurisdiction is conferred upon this Court by 15 U.S.C. § 1692 as well as 28
              U.S.C. §§ 1331 and 1337.
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         c.     Describe the nature of the claims asserted in the complaint and any
                counterclaims

         Plaintiff alleges that IQ Data and 2470 Highland violated the FDCPA and ICFA
through its debt collection activity. Specifically, Plaintiff entered into a month to month lease
with prior to 2470 Highland taking over her lease. 2470 sent her account to IQ Data for
collections even though she does not owe a balance on the subject debt. During IQ’s debt
collection campaign, IQ falsely communicated to Plaintiff that she had not given a 30-day
notice to vacate the apartment. Plaintiff also requested verification of the subject consumer
debt and IQ ultimately refused her with this information. Lastly, IQ reported a debt to the
Plaintiff’s credit file that she has disputed and proved that she is not liable for.

        d.      State the major legal and factual issues in the case.

         This action’s principal legal issues, as determined by the Parties at this time are as
follows:
         (1) Where IQ Data is a debt collector as defined by the FDCPA; (2) whether Plaintiff
is a consumer under the FDCPA; (3) whether the alleged debt is a consumer debt under the
FDCPA; (4) whether Plaintiff is legally obligated to pay the subject debt, whether Plaintiff
suffered damages; (5) whether Plaintiff suffered any actual damages; (6) whether Plaintiff’s
causes of action fail as a matter of law; (7) whether violated either the FDCPA or the ICFA;
and (9) the legal basis, if any, of IQ’s affirmative defenses (8) whether 2740 Highland is
responsible for IQ’s conduct; (9) whether Plaintiff is financially obligated to pay the subject
debt.
         Plaintiff holds that IQ, directed by 2470 Highland, attempted to collect upon a debt
that Plaintiff does not owe. Plaintiff also hold that 2470 Highland was aware of the fact that
the subject debt was not owed and still attempted to collect upon the debt.


         Defendant holds______



        e.      Describe the relief sought by the plaintiff (and counter-claimant).
                  o Statutory damages of $1,000.00 as provided under 15 U.S.C.
                      §1692k(a)(2)(A);

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                     o Actual damages which will be determined at trial as provided under 15
                       U.S.C. §1692k(a)(1);

                     o Punitive damages which will be determined at trial; and

                     o Costs and Attorney’s Fees as provided under 15 U.S.C. §1692k(a)(3

2.     Pending Motions and Case Plan

 a.    Important: state the status of service of process on each defendant.
       IQ was served on December 23, 2022. IQ timely filed its Answer on January 13, 2023.
       2470 Highland LLC was also served on December 23, 2023 but has not filed its
       Answer nor any other responsive pleadings.

 b.    Identify all pending motions.

       No substantive motions are pending. The Parties intend to file a motion requesting

       entry of an agreed confidentiality order. Plaintiff also intends to file a Motion for Entry

       of Default against 2740 Highland LLC.

 c.    Submit a proposal for a discovery plan, including the following information:

        i.    The general type of discovery needed;

              (a) The Parties anticipate serving written discovery, including Interrogatories,

              Requests for Production and Requests for Admission, as well as well between

              two to three depositions, including 30(B) (6) deposition.

              ii.        A date for Rule 26(a)(1) disclosures: February 9, 2023

              iii.       A date to issue the first set of written discovery requests: February

              9, 2023

              iv.        A fact discovery completion date: July 19, 2023

              v.         If there will be expert discovery, an expert discovery completion
                         date, including dates for the delivery of expert reports (or
                         summaries for non-retained expert testimony); and

                         The Parties are not able to anticipate whether expert discovery will be
                         necessary until after fact discovery commences.
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                    vi.     A date for the filing of dispositive motions: August 19, 2023

     d.     State whether a jury trial is requested and the probable length of trial.

     The Parties have requested a jury trial and anticipate the trial will take approximately two (2)
     to four (4) days.


     e.     State whether the parties agree to service of pleadings and other papers by
     electronic means under Federal Rule of Civil Procedure 5(b)(2)(E).

     The Parties agree to service of pleadings and other papers will be governed by Federal Rule
     of Civil Procedure 5(B)(2)( E). .

3.   Consent to Proceed Before a Magistrate Judge

     a.     State whether the parties consent unanimously to proceed before a Magistrate
            Judge for all purposes, including entry of final judgment.

            The Court strongly encourages parties to consent to the jurisdiction of the
            Magistrate Judge. Of course, the parties are free to withhold consent without any
            adverse substantive consequences.

            IQ and Plaintiff have unanimously consented to proceed before a Magistrate Judge for
            all purposes, including entry of final judgment.


4.   Status of Settlement Discussions
     a.     State whether any settlement discussions have occurred;

            The Parties have not discussed settlement.

     b.     Describe the status of any settlement discussions; and

            The Parties have not discussed settlement.

     c.     Whether the parties request a settlement conference.

            The Parties do not request a settlement conference at this time.


     Dated: January 19, 2023                               Respectfully Submitted,

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/s/ Nathan C. Volheim                        /s/ Paul Gamboa
Nathan C. Volheim, Esq. (#6302103)           Paul Gamboa
Sulaiman Law Group, Ltd.                     Gordon & Rees, LLP
2500 South Highland Ave., Ste. 200           One North Franklin, Suite 800
Lombard, Illinois 60148                      Chicago, Illinois 60606
Phone (630) 575-8181 x113                    Phone (312) 565-1400
Fax: (630) 575-8188                          Fax: (312) 565-6511
nvolheim@sulaimanlaw.com                     pgamboa@grsm.com




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